Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 1 of 39 Page ID #:136




   1 NYE, PEABODY, STIRLING, HALE
       & MILLER, LLP
   2 Jonathan D. Miller (CA 220848)
       Alison M. Bernal (CA 264629)
   3 Jonathan@nps-law.com

   4 33 West Mission St., Suite 201
       Telephone: (805) 963-2345
   5
       Facsimile: (805) 563-5385
   6
       CARLSON LYNCH SWEET
   7   KILPELA & CARPENTER, LLP
       Todd D. Carpenter (CA 234464)
   8   tcarpenter@carlsonlynch.com
       1350 Columbia Street, Ste. 603
   9
       Telephone: (619) 762-1900
  10   Facsimile: (619) 756-6991
  11
     Attorneys for Plaintiffs and the Class
  12 [Additional Counsel Listed on Signature Page]

  13
                             UNITED STATES DISTRICT COURT
  14
                            CENTRAL DISTRICT OF CALIFORNIA
  15

  16   MEGAN SCHMITT, DEANA                            Case No. 8:17-cv-01397-JVS-JDE
       REILLY, CAROL ORLOWSKY, and
  17   STEPHANIE MILLER BRUN,                          FIRST AMENDED CLASS
       individually and on behalf of                   ACTION COMPLAINT
  18   themselves and all others similarly
       situated,                                       JURY TRIAL DEMANDED
  19
                    Plaintiffs,
  20
             v.                                        The Hon. James V. Selna
  21                                                   Santa Ana, Courtroom 10C
       YOUNIQUE, LLC,
  22
                    Defendant.
  23                                                   Complaint Filed: 8/17/17
                                                       Trial Date: None Set
  24

  25        Plaintiffs Megan Schmitt, Deana Reilly, Carol Orlowsky, and Stephanie
  26 Miller Brun (“Plaintiffs”), individually and on behalf of all others similarly situated,
  27 by their attorneys, allege the following upon information and belief, except for those

  28
                                                   1
                                  FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 2 of 39 Page ID #:137




   1 allegations pertaining to Plaintiffs, which are based on their personal knowledge:

   2                            NATURE OF THE ACTION
   3        1.    This action seeks to remedy the deceptive and misleading business
   4 practices of Younique, LLC (“Younique” or “Defendant”) with respect to the

   5 marketing and sales of Younique Moodstruck 3D Fiber Lashes (the “Product”).

   6        2.    Younique represented on its packaging that the Product was natural and
   7 contained green tea fibers, when in reality the fibers were just ground-up nylon.

   8        3.    The Product is a mascara that is designed to enhance the appearance of
   9 eyelashes. The mascara consists of two components, a “Transplanting Gel” and

  10 “Natural Fibers.”

  11        4.    Until 2015, Defendant manufactured, sold, and distributed the Product
  12 using a multilevel marketing campaign centered around claims that appeal to health-

  13 conscious consumers, i.e., that the Natural Fibers were “natural” and consisted of

  14 “100% Natural Green Tea Fibers.” However, Defendant’s advertising and marketing

  15 campaign was false, deceptive, and misleading because the so-called “Natural

  16 Fibers” did not contain any green tea leaves and were, in fact, composed of ground-

  17 up nylon, which is not a “natural” substance.

  18        5.    Plaintiffs and those similarly situated (“Class Members”) relied on
  19 Defendant’s misrepresentations that the Natural Fibers were “Natural” and consisted

  20 of “100% Natural Green Tea Fibers” when purchasing the Product. Plaintiffs and

  21 Class Members paid a premium for the Product over and above comparable products

  22 that did not purport to be “natural.” Plaintiffs and Class Members sustained

  23 monetary damages.

  24        6.    Defendant’s conduct violated the federal Magnuson-Moss Warranty
  25 Act, state consumer protection laws, and state warranty laws. Accordingly, Plaintiffs

  26 bring this action against Defendant on behalf of themselves and Class Members who
  27 purchased the Product during the applicable statute of limitations periods (the “Class

  28
                                                  2
                                 FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 3 of 39 Page ID #:138




   1 Period”).

   2                                     FACTUAL BACKGROUND
   3          7.     Consumers have become increasingly concerned about the effects of
   4 synthetic and chemical ingredients in food, cleaning products, bath and beauty

   5 products and everyday household products. Companies such as Younique have

   6 capitalized on consumers’ desires for purportedly “natural” products. Indeed,

   7 consumers are willing to pay, and have paid, a premium for products branded

   8 “natural” over products that contain synthetic ingredients. In 2015, sales of natural

   9 products grew 9.5% to $180 billion.1 Reasonable consumers, including Plaintiffs

  10 and the Class Members, value natural products for important reasons, including the

  11 belief that they are safer and healthier than alternative products that are not

  12 represented as “natural.”

  13          8.     From 2012 to at least 2015, Defendant marketed the Natural Fibers
  14 component of the Product as being “natural” and consisting of “100% Natural Green

  15 Tea Fibers.” The Product’s labeling during that time is depicted below:

  16

  17

  18
  19

  20

  21
              1
  22            Natural Products Industry Sales up 9.5% to $180bn Says NBJ, FOOD NAVIGATOR,
       http://www.foodnavigator-usa.com/Markets/EXPO-WEST-trendspotting-organics-natural-
  23   claims/(page)/6; see also Shoshanna Delventhal, Study Shows Surge in Demand for “Natural”
       Products, INVESTOPEDIA (February 22, 2017),
  24   http://www.investopedia.com/articles/investing/022217/study-shows-surge-demand-natural-
       products.asp (Study by Kline Research indicated that in 2016, the personal care market reached
  25
       9% growth in the U.S. and 8% in the U.K. The trend-driven natural and organic personal care
  26   industry is on track to be worth $25.1 million by 2025); Natural living: The next frontier for
       growth? [NEXT Forecast 2017], NEW HOPE NETWORK (December 20, 2016),
  27   http://www.newhope.com/beauty-and-lifestyle/natural-living-next-frontier-growth-next-forecast-
       2017.
  28
                                                         3
                                     FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 4 of 39 Page ID #:139




   1
                          Younique Moodstruck 3D Fiber Lashes

   2

   3

   4

   5

   6

   7

   8

   9

  10

  11

  12

  13

  14

  15

  16

  17

  18
  19

  20

  21

  22

  23

  24

  25

  26
  27

  28
                                                4
                               FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 5 of 39 Page ID #:140




   1

   2

   3

   4

   5

   6

   7

   8

   9

  10

  11

  12

  13

  14

  15

  16

  17

  18
  19

  20          1.   Defendant’s representations that the Natural Fibers part of the Product
  21 was “natural” and consisted of “100% Natural Green Tea Fibers” is false,

  22 misleading, and deceptive because the Natural Fibers component contains synthetic

  23 ingredients which are not green tea fibers.

  24          2.   In fact, the supposedly natural green tea fibers were just ground-up
  25 nylon.

  26          3.   Nylon is not “natural.” It is a synthetic polymer created through a
  27 complicated chemical and manufacturing process.

  28
                                                  5
                                 FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 6 of 39 Page ID #:141




   1        4.     Consumers lack the meaningful ability to test or independently
   2 ascertain or verify whether the product contains what it says it contains, especially at

   3 the point of sale. Consumers could not know the true nature of the ingredients

   4 merely by reading the ingredients label or packaging which does not disclose that

   5 the Natural Fibers are just ground up nylon.

   6        5.     Discovering that the ingredients are not “natural” nor “100% Natural
   7 Green Tea Fibers” requires a scientific investigation and knowledge of chemistry

   8 beyond that of the average consumer.

   9     The “Natural Fibers” Misrepresentation
  10        6.     Whether Defendant’s “natural” misrepresentation is deceptive is judged
  11 by an objective standard as to whether it would deceive or mislead a reasonable

  12 person.

  13        7.     A reasonable person would not consider nylon “natural.”
  14        8.     To assist in ascertaining what a reasonable consumer believes the term
  15 natural means, one can look to the regulatory agencies for their guidance.

  16        9.     In 2013, the United States Department of Agriculture (“USDA”) issued
  17 a Draft Guidance Decision Tree for Classification of Materials as Synthetic or

  18 Nonsynthetic (Natural). In accordance with this decision tree, a substance is
  19 natural—as opposed to synthetic—if: (a) it is manufactured, produced, or extracted

  20 from a natural source (i.e. naturally occurring mineral or biological matter); (b) it

  21 has not undergone a chemical change (i.e. a process whereby a substance is

  22 transformed into one or more other distinct substances) so that it is chemically or

  23 structurally different than how it naturally occurs in the source material; or (c) the

  24 chemical change was created by a naturally occurring biological process such as

  25 composting, fermentation, or enzymatic digestion or by heating or burning

  26 biological matter.
  27

  28
                                                   6
                                  FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 7 of 39 Page ID #:142




   1        10.    Further, Congress has defined “synthetic” to mean “a substance that is
   2 formulated or manufactured by a chemical process or by a process that chemically

   3 changes a substance extracted from naturally occurring plants, animals, or mineral

   4 sources . . .” 7 U.S.C. § 6502 (21).

   5        11.    Surveys and other market research, including expert testimony
   6 Plaintiffs intend to introduce, will demonstrate that the term “natural” is misleading

   7 to a reasonable consumer because the reasonable consumer believes that the term

   8 “natural,” when used to describe goods such as the Product, means that the goods

   9 are free of synthetic ingredients.

  10        The “100% Natural Green Tea Fibers” Misrepresentation
  11        12.    Whether the Product contains only natural green tea fibers can be
  12 determined with objective factual evidence.

  13        13.    Plaintiffs have determined that the Natural Fibers component of the
  14 Product contained ground-up nylon from 2012 to 2015, the time Defendant

  15 represented that the Natural Fibers were “natural” and “100% Natural Green Tea

  16 Leaves.”

  17        14.    The marketing of the Product as “Natural” and as consisting of “100%
  18 Natural Green Tea Fibers” in a prominent place on the label of the Product,
  19 throughout the Class Period, demonstrates Defendant’s awareness that these claims

  20 are material to consumers.

  21        15.    Defendant’s deceptive representations and omissions are material in
  22 that a reasonable person would attach importance to such information and would be

  23 induced to act upon such information in making purchase decisions.

  24        16.    Plaintiffs and the Class members reasonably relied to their detriment on
  25 Defendant’s misleading representations and omissions.

  26        17.    In making the false, misleading, and deceptive representations and
  27 omissions described herein, Younique knew and intended that consumers would pay

  28
                                                   7
                                  FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 8 of 39 Page ID #:143




   1 a premium for a Product labeled “Natural” and which supposedly consisted of

   2 “100% Natural Green Tea Fibers” over comparable products not so labeled.

   3           18.      As an immediate, direct, and proximate result of Younique’s false,
   4 misleading, and deceptive representations and omissions, Younique injured

   5 Plaintiffs and the Class members in that Class members:

   6                 a. Paid a sum of money for a Product that was not what Younique
   7                    represented;
   8                 b. Paid a premium price for a Product that was not what Younique
   9                    represented;
  10                 c. Were deprived of the benefit of the bargain because the Product
  11                    they purchased was different from what Defendant warranted; and
  12                 d. Were deprived of the benefit of the bargain because the Product
  13                    they purchased had less value than what Younique represented.
  14           19.      Had Defendant not made the false, misleading, and deceptive
  15 representations and omissions, Plaintiffs and the Class members would not have

  16 been willing to pay the same amount for the Product or would not have purchased it

  17 at all.

  18           20.      Consequently, Plaintiffs and the Class members have suffered injury in
  19 fact and lost money as a result of Defendant’s wrongful conduct.

  20                                   JURISDICTION AND VENUE
  21           21.      This Court has subject matter jurisdiction under the Class Action
  22 Fairness Act, 28 U.S.C. section 1332(d) in that: (1) this is a class action involving

  23 more than 100 class members; (2) Plaintiffs are citizens of the States of California,

  24 Florida, Tennessee and Ohio, and Defendant Younique, LLC, is a citizen of the

  25 State of Utah; and (3) the amount in controversy is in excess of $5,000,000,

  26 exclusive of interests and costs.
  27

  28
                                                        8
                                       FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 9 of 39 Page ID #:144




   1        22.    This Court has personal jurisdiction over Defendant because Plaintiff
   2 Megan Schmitt is a resident of the State of California, Defendant conducts and

   3 transacts business in the State of California, contracts to supply goods within the

   4 State of California, and supplies goods within the State of California.

   5        23.    Venue is proper because Plaintiff Megan Schmitt and many Class
   6 Members reside in this District, and throughout the State of California. A substantial

   7 part of the events or omissions giving rise to the classes’ claims occurred in this

   8 District.

   9                                         PARTIES
  10 Plaintiffs

  11        24.    Plaintiff Megan Schmitt is an individual consumer who, at all times
  12 material hereto, was a citizen of California. During the Class Period Ms. Schmitt

  13 purchased the Product through Younique’s multilevel marketing and distribution

  14 network while in California. Ms. Schmitt purchased the Product for personal use.

  15 Ms. Schmitt paid $29 for the Product. The packaging of the Product Ms. Schmitt

  16 purchased contained the representation that the “Natural Fibers” were “natural”

  17 consisted of “100% Natural Green Tea Fibers.” These representations were

  18 important to Ms. Schmitt and she relied on them in making her purchase decision.
  19        25.    Ms. Schmitt believed that the Natural Fibers component of the Product
  20 did not contain any other ingredients besides natural green tea fibers and that the

  21 fibers were, as described, “natural.”

  22        26.     Ms. Schmitt believes that products which are labeled “Natural” do not
  23 contain synthetic ingredients. Ms. Schmitt believes nylon is a synthetic ingredient.

  24        27.    Had Defendant not made the false, misleading, and deceptive
  25 representation that the Natural Fibers were “Natural” and consisted of “100%

  26 Natural Green Tea Fibers” Ms. Schmitt would not have been willing to pay the same
  27 amount for the Product, and, consequently, she would not have been willing to

  28
                                                  9
                                 FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 10 of 39 Page ID #:145




    1 purchase the Product. Ms. Schmitt purchased, purchased more of, and/or paid more

    2 for, the Product than she would have had she known the truth about the Product. The

    3 Product Ms. Schmitt received was worth less than the Product for which she paid.

    4 Ms. Schmitt was injured in fact and lost money as a result of Defendant’s improper

    5 conduct.

    6        28.    Plaintiff Deana Reilly is an individual consumer who, at all times
    7 material hereto, was a citizen of the State of Florida. In early 2015, Ms. Reilly

    8 purchased the Product through Younique’s multilevel marketing and distribution

    9 network while in Florida. Ms. Reilly paid $29 for the Product. Ms. Reilly purchased

   10 the Product for personal use. The packaging of the Product Ms. Reilly purchased

   11 contained the representation that the “Natural Fibers” were “natural” consisted of

   12 “100% Natural Green Tea Fibers.” These representations were important to Ms.

   13 Reilly and she relied on them in making her purchase decision.

   14        29.    Ms. Reilly believed that the Natural Fibers component of the Product
   15 did not contain any other ingredients besides natural green tea fibers and that the

   16 fibers were, as described, “natural.”

   17        30.     Ms. Reilly believes that products which are labeled “Natural” do not
   18 contain synthetic ingredients. Ms. Reilly believes nylon is a synthetic ingredient.
   19        31.    Had Younique not made the false, misleading, and deceptive
   20 representation that the Natural Fibers were “Natural” and consisted of “100%

   21 Natural Green Tea Fibers” Ms. Reilly would not have been willing to pay the same

   22 amount for the Product, and, consequently, she would not have been willing to

   23 purchase the Product. Ms. Reilly purchased, purchased more of, and/or paid more

   24 for, the Product than she would have had she known the truth about the Product. The

   25 Product Ms. Reilly received was worth less than the Product for which she paid. Ms.

   26 Reilly was injured in fact and lost money as a result of Younique’s improper
   27 conduct.

   28
                                                  10
                                  FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 11 of 39 Page ID #:146




    1        32.    Plaintiff Stephanie Miller Brun is an individual consumer who, at all
    2 times material hereto, was a citizen of the State of Ohio. In November of 2014, and

    3 several other times, Ms. Brun purchased the Product through Younique’s multilevel

    4 marketing and distribution network while in Ohio. Ms. Brun paid $29 for the

    5 Product. Ms. Brun purchased the Product for personal use. The packaging of the

    6 Product Ms. Brun purchased contained the representation that the “Natural Fibers”

    7 were “natural” and consisted of “100% Natural Green Tea Fibers.” These

    8 representations were important to Ms. Brun and she relied on them in making her

    9 purchase decision.

   10        33.    Ms. Brun believed that the Natural Fibers component of the Product did
   11 not contain any other ingredients besides natural green tea fibers and that the fibers

   12 were, as described, “natural.”

   13        34.     Ms. Brun believes that products which are labeled “Natural” do not
   14 contain synthetic ingredients. Ms. Brun believes nylon is a synthetic ingredient.

   15        35.    Had Younique not made the false, misleading, and deceptive
   16 representation that the Natural Fibers were “Natural” and consisted of “100%

   17 Natural Green Tea Fibers” Ms. Brun would not have been willing to pay the same

   18 amount for the Product, and, consequently, she would not have been willing to
   19 purchase the Product. Ms. Brun purchased, purchased more of, and/or paid more for,

   20 the Product than she would have had she known the truth about the Product. The

   21 Product Ms. Brun received was worth less than the Product for which she paid. Ms.

   22 Brun was injured in fact and lost money as a result of Younique’s improper conduct.

   23        36.    Plaintiff Carol Orlowsky is an individual consumer who, at all times
   24 material hereto, was a citizen of Tennessee. In late 2014 and early 2015 Ms.

   25 Orlowsky purchased the Product through Younique’s multilevel marketing and

   26 distribution network while in Tennessee. Ms. Orlowsky paid $29 for the Product.
   27 Ms. Orlowsky purchased the Product for personal use. The packaging of the Product

   28
                                                  11
                                  FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 12 of 39 Page ID #:147




    1 Ms. Orlowsky purchased contained the representation that the “Natural Fibers” were

    2 “natural” consisted of “100% Natural Green Tea Fibers.” These representations

    3 were important to Ms. Orlowsky and she relied on them in making her purchase

    4 decision.

    5        37.    Ms. Orlowsky believed that the Natural Fibers component of the
    6 Product did not contain any other ingredients besides natural green tea fibers and

    7 that the fibers were, as described, “natural.”

    8        38.     Ms. Orlowsky believes that products which are labeled “Natural” do
    9 not contain synthetic ingredients. Ms. Orlowsky believes nylon is a synthetic

   10 ingredient.

   11        39.    Had Defendant not made the false, misleading, and deceptive
   12 representation that the Natural Fibers were “Natural” and consisted of “100%

   13 Natural Green Tea Fibers” Ms. Orlowsky would not have been willing to pay the

   14 same amount for the Product, and, consequently, she would not have been willing to

   15 purchase the Product. Ms. Orlowsky purchased, purchased more of, and/or paid

   16 more for, the Product than she would have had she known the truth about the

   17 Product. The Product Ms. Orlowsky received was worth less than the Product for

   18 which she paid. Ms. Orlowsky was injured in fact and lost money as a result of
   19 Defendant’s improper conduct.

   20 Defendant

   21        40.    Defendant Younique, LLC (“Younique”) is a corporation with its
   22 principal place of business in Lehi, Utah. At all relevant times Younique was

   23 responsible for the manufacture, marketing, advertising, and distribution of the

   24 Product throughout the United States. Younique created and/or authorized the false,

   25 misleading, and deceptive advertisements, packaging and labeling for the Product.

   26 In 2017, Coty Inc., a publicly-traded multinational corporation purchased 60% of
   27

   28
                                                  12
                                  FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 13 of 39 Page ID #:148




    1 Younique for $600 million. Younique currently operates within Coty’s “Consumer

    2 Beauty” division.

    3                                CLASS ALLEGATIONS
    4        41.    Plaintiffs bring this matter on behalf of themselves and those similarly
    5 situated. As detailed at length in this Complaint, Younique orchestrated deceptive

    6 marketing and labeling practices. Defendant’s customers were uniformly impacted

    7 by and exposed to this misconduct. Accordingly, this action is suited for classwide

    8 resolution.

    9        42.    The Class is defined as all consumers who purchased the Product
   10 anywhere in the United States during the Class Period (the “Class”).

   11        43.    Plaintiffs also seek certification, to the extent necessary or appropriate,
   12 of subclasses of individuals who purchased the Products in the States of California,

   13 Tennessee, Ohio, or Florida, at any time during the Class Period. The Class and

   14 Subclasses shall be referred to collectively throughout the Complaint as the “Class”

   15 except where indicated.

   16        44.    This action should be certified as a class action under Federal Rule of
   17 Civil Procedure 23(a) and (b)(3). It satisfies the class action prerequisites of

   18 numerosity, commonality, typicality, and adequacy because:
   19        45.    Numerosity: Class Members are so numerous that joinder of all
   20 members is impracticable. Plaintiffs believe that there are thousands of consumers

   21 who are Class Members who have been damaged by Defendant’s deceptive and

   22 misleading practices.

   23        46.    Commonality: The questions of law and fact common to the Class
   24 Members which predominate over any questions which may affect individual Class

   25 Members include, but are not limited to:

   26               a. Whether the Natural Fibers component of the Product contains
   27                  “100% Natural Green Tea Fibers” or not;
   28
                                                   13
                                   FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 14 of 39 Page ID #:149




    1               b. Whether the ingredients in the Natural Fibers component of the
    2                  Product are “natural” as that term is objectively understood by a
    3                  reasonable consumer;
    4               c. Whether Defendant made false and/or misleading statements to the
    5                  Class and the public concerning the contents of its Product;
    6               d. Whether Defendant has engaged in unfair, fraudulent, or unlawful
    7                  business practices with respect to the advertising, marketing, and
    8                  sale of the Product;
    9               e. Whether Defendant’s false and misleading statements concerning its
   10                  Product were likely to deceive the public; and
   11               f. The amount of the price premium paid by Plaintiffs and the Class
   12                  Members as a result of the misrepresentations.
   13        47.    Typicality: Plaintiffs are members of the national Class. Ms. Schmitt is
   14 a member of the California Subclass. Ms. Reilly is a member of the Florida

   15 Subclass. Ms. Brun is a member of the Ohio Subclass. Ms. Orlowsky is a member of

   16 the Tennessee Subclass. The claims of the Plaintiffs are typical of the claims of each

   17 Class Member in that every member of the Class was subjected to the same

   18 deceptive, misleading conduct and incurred damages by purchasing the Product.
   19        48.    Adequacy: The Plaintiffs are all adequate Class representatives. None
   20 of their interests conflict with the interests of the Class Members they seek to

   21 represent; their consumer fraud claims are common to all members of the Class and

   22 they have a strong interest in vindicating their rights; and they have retained counsel

   23 competent and experienced in complex class action litigation and they intend to

   24 vigorously prosecute this action.

   25        49.    Predominance: Pursuant to Rule 23(b)(3), the common issues of law
   26 and fact identified above predominate over any other questions affecting only
   27 individual members of the Class. The Class issues fully predominate over any

   28
                                                  14
                                  FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 15 of 39 Page ID #:150




    1 individual issue because no inquiry into individual conduct is necessary; all that is

    2 required is a narrow focus on Defendant’s deceptive and misleading marketing and

    3 labeling practices and their objective impact on a reasonable consumer.

    4        50.      Superiority: A class action is superior to the other available methods for
    5 the fair and efficient adjudication of this controversy because:

    6              a. The joinder of thousands of individual Class Members is impracticable,
    7                 cumbersome, unduly burdensome, and a waste of judicial and/or
    8                 litigation resources;
    9              b. The individual claims of the Class Members are relatively modest
   10                 compared with the expense of litigating the claims, thereby making it
   11                 impracticable, unduly burdensome, and expensive—if not totally
   12                 impossible—to justify individual actions;
   13              c. When Defendant’s liability has been adjudicated, all Class Members’
   14                 claims can be determined by the Court and administered efficiently in a
   15                 manner far less burdensome and expensive than if it were attempted
   16                 through filing, discovery, and trial of all individual cases;
   17              d. This class action will promote orderly, efficient, expeditious, and
   18                 appropriate adjudication and administration of Class claims;
   19              e. Plaintiffs know of no difficulties to be encountered in the management
   20                 of this action that would preclude its maintenance as a class action;
   21              f. A class action will assure uniformity of decisions among Class
   22                 Members;
   23              g. The Class is readily definable and prosecution of this action as a class
   24                 action will eliminate the possibility of repetitious litigation;
   25              h. Class Members’ interests in individually controlling the prosecution of
   26                 separate actions is outweighed by their interest in efficient resolution
   27                 by single class action; and
   28
                                                     15
                                     FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 16 of 39 Page ID #:151




    1              i. It would be desirable to concentrate in this single venue the litigation of
    2                 all plaintiffs who were induced to purchase the Product by Defendant’s
    3                 uniform false advertising.
    4        51.      Accordingly, this case should be maintained as a class action under
    5 Rule 23(b)(3) because questions of law or fact common to Class Members

    6 predominate over any questions affecting only individual members, and because a

    7 class action is superior to other available methods for fairly and efficiently

    8 adjudicating this controversy.

    9                      CAUSES OF ACTION
   10
                         FIRST CAUSE OF ACTION
        VIOLATION OF THE MAGNUSON-MOSS WARRANTY ACT, 15 U.S.C. §
   11                           2301, et seq.
   12                       (On Behalf of All Plaintiffs and the National Class)
   13        52.      Plaintiffs repeat and reallege each and every allegation contained in the
   14 foregoing paragraphs as if fully set forth herein.

   15        53.      Plaintiffs bring this claim individually and on behalf of all members of
   16 the Class. Upon certification, the Class will consist of more than 100 named

   17 Plaintiffs.

   18        54.      The Magnuson-Moss Warranty Act provides a federal remedy for
   19 consumers who have been damaged by the failure of a supplier or warrantor to

   20 comply with any obligation under a written warranty or implied warranty, or other

   21 various obligations established under the Magnuson-Moss Warranty Act, 15 U.S.C.

   22 § 2301, et seq.

   23        55.      The Product is a “consumer product” within the meaning of the
   24 Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(1).

   25        56.      Plaintiffs and other members of the Class are “consumers” within the
   26 meaning of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3).
   27

   28
                                                     16
                                     FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 17 of 39 Page ID #:152




    1        57.     Defendant is a “supplier” and “warrantor” within the meaning of the
    2 Magnuson-Moss Warranty Act, 15 U.S.C. §§ 2301(4) & 2301(5).

    3        58.     Defendant represented in writing that the Natural Fibers component of
    4 the Product is “natural” and that it contained “100% Natural Green Tea Fibers.”

    5        59.     These statements were made in connection with the sale of the Product
    6 and relate to the nature of the Product and affirm and promise that the Product is as

    7 represented and defect free and, as such, are “written warranties” within the

    8 meaning of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(6)(A).

    9        60.     As alleged herein, Defendant breached the written warranty by selling
   10 consumers Product that is not “natural” and does not contain “100% Natural Green

   11 Tea Fibers.”

   12        61.     The Product does not conform to the Defendant’s written warranty and
   13 therefore violates the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301, et seq.

   14 Consequently, Plaintiffs and the other members of the Class have suffered injury

   15 and are entitled to damages in an amount to be proven at trial.

   16
                               SECOND CAUSE OF ACTION
                 VIOLATION OF CAL. BUS. & PROF. CODE § 17200, et seq.
   17               (On behalf of Ms. Schmitt and the California Subclass)
   18        62.     Plaintiffs repeat and reallege each and every allegation contained in all
   19 the foregoing paragraphs as if fully set forth herein.

   20        63.     Ms. Schmitt has standing to pursue this claim under California’s Unfair
   21 Competition Law (“UCL”) because she suffered an injury-in-fact and lost money as

   22 a result of Defendant’s unfair practices. Specifically, Ms. Schmitt expended more

   23 money in the transaction than she otherwise would have due to Defendant’s

   24 conduct.

   25        64.     Advertising and labeling the Product as “natural” and containing
   26 “100% Natural Green Tea Fibers” when it contains only synthetic ingredients and
   27

   28
                                                   17
                                   FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 18 of 39 Page ID #:153




    1 does not contain green tea fibers constitutes a course of unfair conduct within the

    2 meaning of Cal. Civ. Code § 17200, et seq.

    3        65.    The conduct of the Defendant harms the interests of consumers and
    4 market competition. There is no valid justification for Defendant’s conduct.

    5        66.    Defendant engaged in unlawful business acts and practices by
    6 breaching implied and express warranties, and violating the Consumers Legal

    7 Remedies Act, Cal. Civ. Code § 1750, et seq.

    8        67.    Defendant engaged in fraudulent business practices by knowingly
    9 misrepresenting the Product as “natural” and consisting of “100% Natural Green

   10 Tea Fibers.” Such practices are devoid of utility and outweighed by the gravity of

   11 harm to Ms. Schmitt and the California Subclass who lost money or property by

   12 paying for the Product.

   13        68.    Each of Defendant’s unfair, unlawful, and fraudulent practices
   14 enumerated above was the direct and proximate cause of financial injury to Ms.

   15 Schmitt and the Class. Defendant has unjustly benefitted as a result of its wrongful

   16 conduct. Ms. Schmitt and California Class members are accordingly entitled to have

   17 Defendant disgorge and restore to Ms. Schmitt and California Class members all

   18 monies wrongfully obtained by Defendant as a result of the conduct as alleged
   19 herein.

   20
                                THIRD CAUSE OF ACTION
                      VIOLATION OF CAL. CIV. CODE § 1750, et seq.
   21               (On behalf of Ms. Schmitt and the California Subclass)
   22        69.    Plaintiffs repeat and reallege each and every allegation contained in all
   23 the foregoing paragraphs as if fully set forth herein.

   24        70.    The Consumers Legal Remedies Act (“CLRA”) was enacted to protect
   25 consumers against unfair and deceptive business practices. The CLRA applies to

   26 Defendant’s acts and practices because the Act covers transactions involving the
   27 sale of goods to consumers.

   28
                                                  18
                                  FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 19 of 39 Page ID #:154




    1         71.   Ms. Schmitt and members of the California Subclass members are
    2 “consumers” within the meaning of section 1761(d) of the California Civil Code,

    3 and they engaged in “transactions” within the meaning of sections 1761(e) and 1770

    4 of the California Civil Code, including the purchases of the Products.

    5         72.   Defendant is a “person” under Cal. Civ. Code § 1761(c).
    6         73.   The Products are “goods” under Cal. Civ. Code §1761(a).
    7         74.   Defendant’s unfair and deceptive business practices were intended to
    8 and did result in the sale of the Products.

    9         75.   Defendant violated the CLRA by engaging in the following unfair and
   10 deceptive practices:

   11         76.   Representing that Products have characteristics, uses, or benefits that
   12 they do not have, in violation of section 1770(a)(5);

   13         77.   Representing that Products are of a particular standard, quality, or
   14 grade when they are not, in violation of section 1770(a)(7); and

   15         78.   Advertising Products with the intent not to sell them as advertised, in
   16 violation of section 1770(a)(9).

   17         79.   If Ms. Schmitt and the California Class members had known that the
   18 Products were not “natural” and that they did not contain “100% Natural Green Tea
   19 Fibers” they would not have purchased the Products at all or purchased the Products

   20 at the prices they did.

   21         80.   As a direct and proximate result of Defendant’s conduct, Ms. Schmitt
   22 and the California Class suffered injury and damages in an amount to be determined

   23 at trial.

   24         81.   Pursuant to California Civil Code § 1782(a), On August 23, 2017, Ms.
   25 Schmitt sent Defendant a notice letter via certified mail, return receipt requested,

   26 advising Defendant that it had violated the CLRA and must correct, repair, replace,
   27 or otherwise rectify the goods alleged to be in violation of § 1770.

   28
                                                    19
                                  FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 20 of 39 Page ID #:155




    1          82.   More than thirty days have passed since Ms. Schmitt sent the letter and
    2 Defendant has not taken remedial action.

    3          83.   Ms. Schmitt seeks monetary relief under the CLRA.
    4          84.   Ms. Schmitt also seeks punitive damages because Younique’s conduct
    5 was reprehensible and conducted with conscious disregard of the rights of others.

    6 Many consumers try to use natural products for health reasons. Younique preyed

    7 upon this desire and sold consumers a product that was labeled as natural but was

    8 actually synthetic. In addition, many class members suffered eye irritation because

    9 they used the Product believing it was natural when it was composed of ground-up

   10 nylon.

   11          85.   Ms. Schmitt also seeks restitution, costs, attorneys’ fees, and any other
   12 relief available under the CLRA.

   13

   14
                           FOURTH CAUSE OF ACTION
         BREACH OF EXPRESS WARRANTY UNDER CALIFORNIA LAW, CAL.
   15                      COM. CODE §§ 2313 and 10210
   16           (On behalf of Ms. Schmitt and the California Subclass)

   17
               86.   Plaintiffs repeat and reallege each and every allegation contained in the
   18
        foregoing paragraphs as if fully set forth herein.
   19
               87.   Younique was at all relevant times a “merchant” and a “seller” within
   20
        the meaning of Cal. Com. Code §§ 2104(1), 10103(c) and § 2103 (1)(d).
   21
               88.   The Products, at all relevant times, were “goods” within the meaning of
   22
        Cal. Com. Code §§ 2105(1) and 10103(a)(8).
   23
               89.   On the Product’s packaging, Younique expressly warranted to all
   24
        purchasers that the Natural Fibers component of the Product was “natural” and
   25
        composed of green tea fibers.
   26
               90.   Younique knowingly breached its warranty because the Natural Fibers
   27
        component of the Product was not “natural” and did not consist of green tea leaves.
   28
                                                    20
                                    FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 21 of 39 Page ID #:156




    1        91.    As a result, Ms. Schmitt and the members of the California Subclass
    2 are entitled to damages in an amount to be determined at trial.

    3
                             FIFTH CAUSE OF ACTION
    4       VIOLATION OF FLORIDA’S UNFAIR AND DECEPTIVE TRADE
    5              PRACTICES ACT, FLA. STAT. § 501.201, et seq.
                   (on behalf of Ms. Reilly and the Florida Subclass)
    6

    7        92.    Plaintiffs repeat and reallege each and every allegation contained in all
    8 the foregoing paragraphs as if fully set forth herein.

    9        93.    Ms. Reilly is a consumer under Fla. Stat. § 501.203(7).
   10        94.    Younique was engaged in commerce under Fla. Stat. § 501.203(8).
   11        95.    The Florida Unfair and Deceptive Trade Practices Act at Fla. Stat. §
   12 501.204(1) prohibits “unfair methods of competition, unconscionable acts or

   13 practices, and unfair or deceptive acts of practices in the conduct of any trade or

   14 commerce.”

   15        96.    Younique engaged in misleading, false, unfair, and/or deceptive acts
   16 and practices by misrepresenting to consumers that the Natural Fibers component of

   17 the Product was “natural” and contained only green tea leaves. In fact, the Natural

   18 Fibers component consisted of ground-up nylon.
   19        97.    Ms. Reilly and the Florida Subclass members were deceived by this
   20 conduct and suffered ascertainable loss and actual damages as a direct and

   21 proximate result of these misrepresentations. Had Ms. Reilly or members of the

   22 Florida Subclass known the truth about the Product, they would not have purchased

   23 it or would not have paid as much as they did for it.

   24        98.    Ms. Reilly and the Florida Subclass seek damages, attorneys’ fees and
   25 all other appropriate relief under the Florida Deceptive Trade Practices Act.

   26 ///
   27 ///

   28
                                                  21
                                  FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 22 of 39 Page ID #:157




    1
                               SIXTH CAUSE OF ACTION
    2               BREACH OF EXPRESS WARRANTY UNDER FLORIDA LAW,
    3                              F.S.A. §§ 672.313 and 680.21
                         (On behalf of Ms. Reilly and the Florida Subclass)
    4

    5        99.      Plaintiffs repeat and reallege each and every allegation contained in the
    6 foregoing paragraphs as if fully set forth herein.

    7        100. Younique, at all relevant times, was a “merchant” and a “seller.”
    8        101. The Products, at all relevant times, were “goods.”
    9        102. On the Product’s packaging, Younique warranted to all purchasers that
   10 the Natural Fibers component of the Product was “natural” and composed of green

   11 tea fibers.

   12        103. Younique knowingly breached its warranty because the Natural Fibers
   13 component of the Product was not “natural” and did not consist of green tea leaves.

   14        104. As a result, Ms. Reilly and the members of the Florida Subclass are
   15 entitled to their damages in an amount to be determined at trial.

   16
                       SEVENTH CAUSE OF ACTION
   17   BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY UNDER
   18                          FLORIDA LAW
                (On Behalf of Ms. Reilly and the Florida Subclass)
   19

   20        105. Plaintiffs repeat and reallege each and every allegation contained in the
   21 foregoing paragraphs as if fully set forth herein.

   22        106. Younique, at all relevant times, was a “merchant” and a “seller.”
   23        107. The Products, at all relevant times, were “goods.”
   24        108. The ordinary purpose for which a natural product is used, as opposed to
   25 a non-natural product, is to allow the consumer to avoid being exposed to synthetic

   26 ingredients.
   27        109. When sold, the Natural Fibers component of the Product consisted of
   28
                                                    22
                                    FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 23 of 39 Page ID #:158




    1 ground-up nylon and was therefore not fit for their ordinary purpose as a natural

    2 product.

    3         110. Younique was provided notice of this breach by the CLRA letter sent
    4 by Ms. Schmitt on August 23, 2017.

    5         111. Ms. Reilly and the Florida Subclass have damaged by Younique’s
    6 breach in an amount to be proven at trial.

    7
                           EIGHTH CAUSE OF ACTION
            VIOLATION OF THE OHIO CONSUMER SALES PRACTICES ACT
    8               (On behalf of Ms. Brun and the Ohio Subclass)
    9         112. Plaintiffs repeat and reallege each and every allegation contained in the
   10 foregoing paragraphs as if fully set forth herein.

   11         113. Ohio’s Consumer Sales Practices Act prohibits unfair or deceptive acts
   12 or practices in connections with consumer transactions.

   13         114. Ms. Brun and the members of the Ohio Subclass are “persons” and
   14 “consumers” within the meaning of Ohio Rev. Code § 1345.01 and Younique is a

   15 “supplier” within the meaning of Ohio Rev. Code § 1345.01 (C).

   16         115. The purchase of the Products is a “consumer transaction” within the
   17 meaning of Ohio Rev. Code § 1345.01 (A).

   18         116. Younique’s conduct was willful.
   19         117. Younique violated the Act by representing that the Natural Fibers
   20 component of the Product was “natural” and contained only green tea fibers and by

   21 advertising the Products with the intention of not selling them as advertised.

   22         118. Ms. Brun seeks actual and treble damages, attorneys’ fees, costs, and
   23 any other just and proper relief under the Consumer Sales Practices Act.

   24                   NINTH CAUSE OF ACTION
      FOR VIOLATION OF THE OHIO DECEPTIVE TRADE PRACTICES ACT,
   25                OHIO REV. CODE § 4165.01, et seq.
   26            (On behalf of Ms. Brun and the Ohio Subclass)
              119. Plaintiffs repeat and reallege each and every allegation contained in the
   27
        foregoing paragraphs as if fully set forth herein.
   28
                                                    23
                                    FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 24 of 39 Page ID #:159




    1        120. The Ohio Deceptive Trade Practices Act prohibits misrepresentations
    2 that goods have “sponsorship, approval, characteristics, ingredients, uses, benefits or

    3 quantities that they do not have” or that goods “are of a particular standard, quality,

    4 or grade… if they are of another,” or if a person “advertises goods or services with

    5 intent not to sell them as advertised.” §4165.02(A)(7), (9), (11).

    6        121. Younique, Ms. Brun, and the members of the Ohio Subclass are
    7 “persons” within the meaning of Ohio Rev. Code § 4165.01(D).

    8        122. Younique committed the wrongful acts alleged herein in the course of
    9 its business within the meaning of Ohio Rev. Code § 4165.02(A).

   10        123. Younique has violated the Ohio Deceptive Trade Practices Act by
   11 representing that the Natural Fibers component of the Products was “natural” and

   12 contained only green tea fibers and by advertising the Products with the intention of

   13 not selling them as advertised.

   14        124. Ms. Brun and the Ohio Subclass seek actual and punitive damages,
   15 attorneys’ fees, costs, and any other just and proper relief under the Deceptive Trade

   16 Practices Act.

   17
                            TENTH CAUSE OF ACTION
                BREACH OF EXPRESS WARRANTY UNDER OHIO LAW
   18                (On behalf of Ms. Brun and the Ohio Subclass)
   19        125. Plaintiffs repeat and reallege each and every allegation contained in the
   20 foregoing paragraphs as if fully set forth herein.

   21        126. Younique was a “seller” and “merchant” under Ohio Rev. Code §
   22 1302.01(4)-(5).

   23        127. The Products were “goods” under Ohio Rev. Code § 1302.01(8).
   24        128. On the Product’s packaging, Younique warranted to all purchasers that
   25 the Natural Fibers component of the Product was “natural” and composed of green

   26 tea fibers.
   27        129. Younique knowingly breached its warranty because the Natural Fibers
   28
                                                   24
                                   FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 25 of 39 Page ID #:160




    1 component of the Product was not “natural” and did not consist of green tea leaves.

    2        130. Notice to Younique would have been futile, since Ms. Brun and other
    3 consumers had no way of knowing that the Natural Fibers component of the Product

    4 was not natural and composed of ground-up nylon.

    5        131. In any case, Younique was provided notice of this breach by the CLRA
    6 letter sent by Ms. Schmitt on August 23, 2017.

    7        132. As a result, Ms. Brun and the members of the Ohio Subclass are
    8 entitled to their damages in an amount to be determined at trial.

    9
                          ELEVENTH CAUSE OF ACTION
                 BREACH OF IMPLIED WARRANTY UNDER OHIO LAW
   10                (On behalf of Ms. Brun and the Ohio Subclass)
   11        133. Plaintiffs repeat and reallege each and every allegation contained in the
   12 foregoing paragraphs as if fully set forth herein.

   13        134. Younique was a “seller” and “merchant” under Ohio Rev. Code §
   14 1302.01(4)-(5).

   15        135. The Products were “goods” under Ohio Rev. Code § 1302.01(8).
   16        136. An implied warranty that the Products were merchantable and fit for
   17 the ordinary purpose for which natural cosmetics are used arises under Ohio Rev.

   18 Code §§ 1302.27 and 1310.19.
   19        137. The ordinary purpose for which a natural product is used, as opposed to
   20 a non-natural product, is to allow the consumer to avoid being exposed to synthetic

   21 ingredients.

   22        138. When sold, the Natural Fibers component of the Product consisted of
   23 ground-up nylon and was therefore not fit for their ordinary purpose as a natural

   24 product.

   25        139. Younique was provided notice of this breach by the CLRA letter sent
   26 by Ms. Schmitt on August 23, 2017.
   27        140.    As a result, Ms. Brun and the members of the Ohio Subclass are
   28
                                                  25
                                  FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 26 of 39 Page ID #:161




    1 entitled to their damages in an amount to be determined at trial.

    2
                            TWELFTH CAUSE OF ACTION
    3        VIOLATION OF TENNESSEE CONSUMER PROTECTION ACT,
    4                   TENN. CODE ANN. § 47-18-101, et seq.
                 (On behalf of Ms. Orlowsky and the Tennessee Subclass)
    5

    6        141. Plaintiffs repeat and reallege each and every allegation contained in the
    7 foregoing paragraphs as if fully set forth herein.

    8        142. Ms. Orlowsky and the members of the Tennessee Subclass are “natural
    9 persons” and “consumers” under Tenn. Code § 47-18-103(2).

   10        143. Younique is a “person” under Tenn. Code § 47-18-103(9).
   11        144. Younique’s sales of the Products constitute “consumer transactions”
   12 under Tenn. Code § 47-18-103(9).

   13        145. The Tennessee Consumer Protection Act prohibits “unfair or deceptive
   14 acts or practices affecting the conduct of any trade or commerce.”

   15        146. Younique’s conduct in misrepresenting that the Natural Fibers
   16 component of the Products was “natural” and contained only green tea fibers

   17 constitutes an “unfair or deceptive act or practice affecting the commerce of any

   18 trade or commerce.”
   19        147. Younique’s conduct was willful and knowing.
   20        148. Ms. Orlowsky and the Tennessee Subclass seek actual and treble
   21 damages, punitive damages, attorneys’ fees and costs and any other just and proper

   22 relief under the Tennessee Consumer Protection Act, § 47-18-109(a)(3).

   23                   THIRTEENTH CAUSE OF ACTION
            BREACH OF EXPRESS WARRANTY UNDER TENNESSEE LAW
   24           (On behalf of Ms. Orlowsky and the Tennessee Subclass)
   25        149. Plaintiffs repeat and reallege each and every allegation contained in the
   26 foregoing paragraphs as if fully set forth herein.
   27        150. Younique is a “merchant” and “seller” under Tenn. Code § 47-2A-103.
   28
                                                  26
                                  FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 27 of 39 Page ID #:162




    1        151. The Products are “goods” under Tenn. Code §§ 47-2-105(1) and 47-
    2 2A-103(1)(h).

    3        152. On the Product’s packaging, Younique warranted to all purchasers that
    4 the Natural Fibers component of the Product was “natural” and composed of green

    5 tea fibers.

    6        153. Younique knowingly breached its warranty because the Natural Fibers
    7 component of the Product was not “natural” and did not consist of green tea leaves.

    8        154. Notice to Younique would have been futile, since Ms. Orlowsky and
    9 other consumers had no way of knowing that the Natural Fibers component of the

   10 Product was not natural and composed of ground-up nylon.

   11        155. In any case, Younique was provided notice of this breach by the CLRA
   12 letter sent by Ms. Schmitt on August 23, 2017.

   13        156. As a result of Younique’s breach, Ms. Orlowsky and the members of
   14 the Tennessee Subclass have been damaged in an amount to be determined at trial.

   15

   16
                         FOURTEENTH CAUSE OF ACTION
             BREACH OF IMPLIED WARRANTY UNDER TENNESSEE LAW
   17            (On behalf of Ms. Orlowsky and the Tennessee Subclass)
   18        157. Plaintiffs repeat and reallege each and every allegation contained in the
   19 foregoing paragraphs as if fully set forth herein.

   20        158. Younique is a “merchant” and “seller” under Tenn. Code §§ 47-2-103.
   21        159. The Products are “goods” under Tenn. Code §§ 47-2-103.
   22        160. An implied warranty that the Products were merchantable and fit for
   23 the ordinary purpose for which natural cosmetics are used arises under Tennessee

   24 law.

   25        161. The ordinary purpose for which a natural product is used, as opposed to
   26 a non-natural product, is to allow the consumer to avoid being exposed to synthetic
   27 ingredients.

   28
                                                  27
                                  FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 28 of 39 Page ID #:163




    1        162. When sold, the Natural Fibers component of the Product consisted of
    2 ground-up nylon and was therefore not fit for their ordinary purpose as a natural

    3 product.

    4        163. Younique was provided notice of this breach by the CLRA letter sent
    5 by Ms. Schmitt on August 23, 2017.

    6        164.     As a result, Ms. Orlowsky and the members of the Tennessee Subclass
    7 are entitled to their damages in an amount to be determined at trial.

    8

    9
                        FIFTEENTH CAUSE OF ACTION
            VIOLATION OF STATE CONSUMER PROTECTION STATUTES
   10              (On Behalf of Plaintiffs and All Class Members)
   11        165. Plaintiffs repeat and reallege each and every allegation contained in all
   12 the foregoing paragraphs as if fully set forth herein.

   13        166. Plaintiffs and Class Members have been injured as a result of
   14 Defendant’s violations of the following state consumer protection statutes, which

   15 also provide a basis for redress to Plaintiffs and Class Members based on

   16 Defendant’s fraudulent, deceptive, unfair, and unconscionable acts, practices and

   17 conduct.

   18        167. Defendant’s conduct as alleged herein violates the consumer protection,
   19 unfair trade practices and deceptive acts laws of each of the following jurisdictions:

   20            a.   Alaska: Defendant’s practices violated Alaska’s Unfair Trade Practices
   21                 and Consumer Protection Act, Alaska Stat. § 45.50.471, et seq.
   22            b.   Arizona: Defendant’s practices violated Arizona’s Consumer Fraud
   23                 Act, Ariz. Rev. Stat. Ann. §§ 44-1521, et seq.
   24            c.   Arkansas: Defendant’s practices violated Arkansas Code Ann. § 4-88-
   25                 101, et seq.
   26            d.   Colorado: Defendant’s practices violated Colorado’s Consumer
   27                 Protection Act, Colo. Rev. Stat. §§ 61-1-101, et seq.
   28
                                                     28
                                     FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 29 of 39 Page ID #:164




    1         e.   Connecticut: Defendant’s practices violated Connecticut’s Gen. Stat.
    2              § 42-110a, et seq.
    3         f.   Delaware: Defendant’s practices violated Delaware’s Consumer Fraud
    4              Act, Del. Code Ann. tit. 6, § 2511, et seq. and the Deceptive Trade
    5              Practices Act, Del. Code Ann. tit. 6, § 2531, et seq.
    6         g.   District of Columbia: Defendant’s practices violated the District of
    7              Columbia’s Consumer Protection Act, D.C. Code § 28-3901, et seq.
    8         h.   Hawaii: Defendant’s practices violated the Hawaii’s Uniform
    9              Deceptive Trade Practices Act, Haw. Rev. Stat. § 481A-1, et seq. and
   10              Haw. Rev. Stat. § 480-2.
   11         i.   Idaho: Defendant’s practices violated Idaho’s Consumer Protection
   12              Act, Idaho Code Ann. § 48-601, et seq.
   13         j.   Illinois: Defendant’s acts and practices violated Illinois’ Consumer
   14              Fraud and Deceptive Business Practices Act, 815 Ill. Comp. Stat.
   15              505/2; and Uniform Deceptive Trade Practices Act, 815 Ill. Comp. Stat.
   16              510/2.
   17         k.   Indiana: Defendant’s practices violated Indiana’s Deceptive
   18              Consumer Sales Act, Ind. Code Ann. § 24-5-0.5-1, et seq.
   19         l.   Kansas: Defendant’s practices violated Kansas’s Consumer Protection
   20              Act, Kat. Stat. Ann. § 50-623, et seq.
   21         m. Kentucky: Defendant’s practices violated Kentucky’s Consumer
   22              Protection Act, Ky. Rev. Stat. Ann. § 367.110, et seq.
   23         n.   Maine: Defendant’s practices violated the Maine Unfair Trade
   24              Practices Act, 5 Me. Rev. Stat. Ann. Tit. 5, § 205-A, et seq. and 10 Me.
   25              Rev. Stat. Ann. § 1101, et seq.
   26         o.   Maryland: Defendant’s practices violated Maryland’s Consumer
   27              Protection Act, Md. Code Ann. Com. Law § 13-101, et seq.
   28
                                                 29
                                 FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 30 of 39 Page ID #:165




    1         p.   Massachusetts: Defendant’s practices were unfair and deceptive acts
    2              and practices in violation of Massachusetts’ Consumer Protection Act,
    3              Mass. Gen. Laws ch. 93A, § 2.
    4         q.   Michigan: Defendant’s practices violated Michigan’s Consumer
    5              Protection Act, Mich. Comp. Laws Ann. § 445.901, et seq.
    6         r.   Minnesota: Defendant’s practices violated Minnesota’s Prevention of
    7              Consumer Fraud Act, Minn. Stat. § 325F.68, et seq. and the Unlawful
    8              Trade Practices law, Minn. Stat. § 325D.09, et seq.
    9         s.   Missouri: Defendant’s practices violated Missouri’s Merchandising
   10              Practices Act, Mo. Rev. Stat. § 407.010, et seq.
   11         t.   Nebraska: Defendant’s practices violated Nebraska’s Consumer
   12              Protection Act, Neb. Rev. Stat. § 59-1601, et seq. and the Uniform
   13              Deceptive Trade Practices Act, § 87-302, et seq.
   14         u.   Nevada: Defendant’s practices violated Nevada’s Deceptive Trade
   15              Practices Act, Nev. Rev. Stat. Ann. §§ 598.0903 and 41.600.
   16         v.   New Hampshire: Defendant’s practices violated New Hampshire’s
   17              Regulation of Business Practices for Consumer Protection, N.H. Rev.
   18              Stat. Ann. § 358-A:1, et seq.
   19         w. New Jersey: Defendant’s practices violated New Jersey’s Consumer
   20              Fraud Act, N.J. Stat. Ann. § 56:8-1, et seq.
   21         x.   New Mexico: Defendant’s practices violated New Mexico’s Unfair
   22              Practices Act, N.M. Stat. Ann. § 57-12-1, et seq.
   23         y.   New York: Defendant’s practices violated of New York General
   24              Business Law §§ 349 and 350;
   25         z.   North Carolina: Defendant’s practices violated North Carolina’s
   26              Unfair Deceptive Trade Practices Act, N.C. Gen. Stat. Ann. § 75-1, et
   27              seq.
   28
                                                 30
                                 FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 31 of 39 Page ID #:166




    1         aa. North Dakota: Defendant’s practices violated North Dakota’s
    2             Unlawful Sales or Advertising Practices law, N.D. Cent. Code § 51-15-
    3             01, et seq.
    4         bb. Oklahoma: Defendant’s practices violated Oklahoma’s Consumer
    5             Protection Act, Okla. Stat. Ann. tit. 15 § 751, et seq., and Oklahoma’s
    6             Deceptive Trade Practices Act, Okla. Stat. Ann. tit. 78 § 51, et seq.
    7         cc. Oregon: Defendant’s practices violated Oregon’s Unlawful Trade
    8             Practices law, Or. Rev. Stat. § 646.605, et seq.
    9         dd. Pennsylvania: Defendant’s practices violated Pennsylvania’s Unfair
   10             Trade Practice and Consumer Protection Law, 73 Pa. Stat. Ann. § 201-
   11             1, et seq.
   12         ee. Rhode Island: Defendant’s practices violated Rhode Island’s
   13             Deceptive Trade Practices Act, R.I. Gen. Laws § 6-13.1-1, et seq.
   14         ff. South Dakota: Defendant’s practices violated South Dakota’s
   15             Deceptive Trade Practices and Consumer Protection Act, S.D. Codified
   16             Laws § 37-24-1, et seq.
   17         gg. Texas: Defendant’s practices violated Texas’ Deceptive Trade
   18             Practices Consumer Protection Act, Tex. Bus. & Com. Code Ann. §
   19             17.41, et seq.
   20         hh. Utah: Defendant’s practices violated Utah’s Consumer Sales Practices
   21             Act, Utah Code Ann. § 13-11-1, et seq., and Utah’s Truth in
   22             Advertising Law, Utah Code Ann. § 13-11a-1, et seq.
   23         ii. Vermont: Defendant’s practices violated Vermont’s Consumer Fraud
   24             Act, Vt. Stat. Ann. tit. 9 § 2451, et seq.
   25         jj. Washington: Defendant’s practices violated Washington Consumer
   26             Protection Act, Wash. Rev. Code Ann. § 19.86, et seq.
   27

   28
                                                   31
                                   FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 32 of 39 Page ID #:167




    1          mm. West Virginia: Defendant’s practices violated West Virginia’s
    2               Consumer Credit and Protection Act, W. Va. Code § 46A-6-101, et seq.
    3          nn. Wisconsin: Defendant’s practices violated Wisconsin’s Consumer
    4               Act, Wis. Stat. §421.101, et seq.
    5          oo. Wyoming: Defendant’s practices violated Wyoming’s Consumer
    6               Protection Act, Wyo. Stat. Ann. §40-12-101, et seq.
    7        168. Defendant violated the aforementioned states’ unfair and deceptive acts
    8 and practices laws by representing that the Product was “natural” and consisted of

    9 “100% Natural Green Tea Fibers.”

   10        169. Contrary to Defendant’s representations, the Product is not “natural”
   11 and does not contain any green tea fibers.

   12        170. Defendant’s misrepresentations were material to Plaintiff’s and Class
   13 Members’ decision to pay a premium for the Product.

   14        171. Defendant made its untrue and/or misleading statements and
   15 representations willfully, wantonly, and with reckless disregard for the truth.

   16        172. As a result of Defendant’s violations of the aforementioned states’
   17 unfair and deceptive practices laws, Plaintiffs and Class Members paid a premium

   18 for the Product.
   19        173. As a result of Defendant’s violations, Defendant has been unjustly
   20 enriched.

   21        174. Pursuant to the aforementioned states’ unfair and deceptive practices
   22 laws, Plaintiffs and Class Members are entitled to recover compensatory damages,

   23 restitution, punitive and special damages including but not limited to treble

   24 damages, reasonable attorneys’ fees and costs, and other injunctive or declaratory

   25 relief as deemed appropriate or permitted pursuant to the relevant law.

   26
   27

   28
                                                  32
                                  FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 33 of 39 Page ID #:168




    1

    2
                        SIXTEENTH CAUSE OF ACTION
            BREACH OF EXPRESS WARRANTY LAWS OF OTHER STATES
    3              (On Behalf of Plaintiffs and All Class Members)
    4        175. Plaintiffs repeat and reallege each and every allegation contained in the
    5 foregoing paragraphs as if fully set forth herein.

    6        176. Defendant provided the Plaintiffs and Class Members with an express
    7 warranty in the form of written affirmations of fact promising and representing that

    8 the Product is “Natural” and that it contains 100% Natural Green Tea Fibers.”

    9        177. The above affirmations of fact were not couched as “belief” or
   10 “opinion,” and were not “generalized statements of quality not capable of proof or

   11 disproof.”

   12        178. These affirmations of fact became part of the basis for the bargain and
   13 were material to the Plaintiff’s and Class Members’ transactions.

   14        179. Plaintiffs and Class Members reasonably relied upon the Defendant’s
   15 affirmations of fact and justifiably acted in ignorance of the material facts omitted or

   16 concealed when they decided to buy Defendant’s Product.

   17        180. Within a reasonable time after she knew or should have known of
   18 Defendant’s breach, Plaintiff Megan Schmitt, on behalf of herself and similarly
   19 situated Class Members, placed Defendant on notice of its breach.

   20        181. Defendant breached the express warranty because the Product is not
   21 “natural” because it contains synthetic ingredients, and because it contains

   22 ingredients other than “100% Natural Green Tea Fibers.”

   23        182. Defendant thereby breached the following state warranty laws:
   24               a.    Code of Ala. § 7-2-313;
   25               b.    Alaska Stat. § 45.02.313;
   26               c.    A.R.S. § 47-2313;
   27               d.    A.C.A. § 4-2-313;
   28
                                                  33
                                  FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 34 of 39 Page ID #:169




    1             e.    Cal. Comm. Code § 2313;
    2             f.    Colo. Rev. Stat. § 4-2-313;
    3             g.    Conn. Gen. Stat. § 42a-2-313;
    4             h.    6 Del. C. § 2-313;
    5             i.    D.C. Code § 28:2-313;
    6             j.    Fla. Stat. § 672.313;
    7             k.    O.C.G.A. § 11-2-313;
    8             l.    H.R.S. § 490:2-313;
    9             m.    Idaho Code § 28-2-313;
   10             n.    810 I.L.C.S. 5/2-313;
   11             o.    Ind. Code § 26-1-2-313;
   12             p.    Iowa Code § 554.2313;
   13             q.    K.S.A. § 84-2-313;
   14             r.    K.R.S. § 355.2-313;
   15             s.    11 M.R.S. § 2-313;
   16             t.    Md. Commercial Law Code Ann. § 2-313;
   17             u.    106 Mass. Gen. Laws Ann. § 2-313;
   18             v.    M.C.L.S. § 440.2313;
   19             w.    Minn. Stat. § 336.2-313;
   20             x.    Miss. Code Ann. § 75-2-313;
   21             y.    R.S. Mo. § 400.2-313;
   22             z.    Mont. Code Anno. § 30-2-313;
   23             aa.   Neb. Rev. Stat. § 2-313;
   24             bb.   Nev. Rev. Stat. Ann. § 104.2313;
   25             cc.   R.S.A. 382-A:2-313;
   26             dd.   N.J. Stat. Ann. § 12A:2-313;
   27             ee.   N.M. Stat. Ann. § 55-2-313;
   28
                                                34
                                FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 35 of 39 Page ID #:170




    1                ff.    N.Y. U.C.C. Law § 2-313;
    2                gg.    N.C. Gen. Stat. § 25-2-313;
    3                hh.    N.D. Cent. Code § 41-02-30;
    4                ii.    II. O.R.C. Ann. § 1302.26;
    5                jj.    12A Okl. St. § 2-313;
    6                kk.    Or. Rev. Stat. § 72-3130;
    7                ll.    13 Pa. Rev. Stat. § 72-3130;
    8                mm. R.I. Gen. Laws § 6A-2-313;
    9                nn.    S.C. Code Ann. § 36-2-313;
   10                oo.    S.D. Codified Laws, § 57A-2-313;
   11                pp.    Tenn. Code Ann. § 47-2-313;
   12                qq.    Tex. Bus. & Com. Code § 2.313;
   13                rr.    Utah Code Ann. § 70A-2-313;
   14                ss.    9A V.S.A. § 2-313;
   15                tt.    Va. Code Ann. § 59.1-504.2;
   16                uu.    Wash. Rev. Code Ann. § 6A.2-313;
   17                vv.    W. Va. Code § 46-2-313;
   18                ww. Wis. Stat. § 402.313;
   19                xx.    Wyo. Stat. § 34.1-2-313.
   20          183. As a direct and proximate result of Defendant’s breach of express
   21 warranty, Plaintiffs and Class Members were damaged in an amount to be proven at

   22 trial.

   23
                    SEVENTEENTH CAUSE OF ACTION
      BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY LAWS OF
   24                           OTHER STATES
   25            (On Behalf of Plaintiffs and All Class Members)
               184. Plaintiffs repeat and reallege each and every allegation contained in the
   26
        foregoing paragraphs as if fully set forth herein.
   27

   28
                                                    35
                                    FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 36 of 39 Page ID #:171




    1         185. Defendant is in the business of manufacturing, distributing, marketing,
    2 and advertising eyelash mascara.

    3         186. Under the Uniform Commercial Code’s implied warranty of
    4 merchantability, the Defendant warranted to Plaintiffs and Class Members that the

    5 Product is “Natural” and that it contained “100% Natural Green Tea Fibers.”

    6         187. Defendant breached the implied warranty of merchantability in that
    7 Defendant’s Product’s ingredients deviate from the label and product description,

    8 and reasonable consumers expecting a product that conforms to its label would not

    9 accept the Defendant’s Product if they knew that they actually contained synthetic

   10 ingredients, that are not “Natural” and that it contains ingredients other than green

   11 tea fibers.

   12         188. Within a reasonable amount of time after she discovered that the
   13 Product contain synthetic ingredients, Ms. Schmitt notified the Defendant of such

   14 breach.

   15         189. The inability of the Defendant’s Product to meet the label description
   16 was wholly due to the Defendant’s fault and without Plaintiffs’ or Class Members’

   17 fault or neglect, and was solely due to the Defendant’s manufacture and distribution

   18 of the Product to the public.
   19         190. As a result of the foregoing, Plaintiffs and Class Members have been
   20 damaged in the amount paid for the Defendant’s Product, together with interest

   21 thereon from the date of purchase.

   22
                       EIGHTEENTH CAUSE OF ACTION
         BREACH OF IMPLIED WARRANTY OF FITNESS FOR A PARTICULAR
   23                 PURPOSE LAWS OF OTHER STATES
   24              (On Behalf of Plaintiffs and All Class Members)
              191. Plaintiffs repeat and reallege each and every allegation contained in the
   25
        foregoing paragraphs as if fully set forth herein.
   26
   27

   28
                                                    36
                                    FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 37 of 39 Page ID #:172




    1        192. Defendant knew or had reason to know that Plaintiffs and other Class
    2 Members were buying their Product with the specific purpose of buying products

    3 that contained exclusively natural ingredients and/or contained only green tea fibers.

    4        193. Plaintiffs and the other Class Members, intending to use wholly natural
    5 products and/or those that contain only green tea fibers, relied on the Defendant in

    6 selecting the Product to fit their specific intended use.

    7        194. Defendant held itself out as having particular knowledge of the
    8 Defendant’s Product’s ingredients.

    9        195. The particular purpose for which the Products were used was to allow
   10 the consumer to avoid being exposed to synthetic ingredients.

   11        196. Plaintiff’s and Class Members’ reliance on Defendant in selecting
   12 Defendant’s Product to fit their particular purpose was reasonable given Defendant’s

   13 claims and representations in the advertising, packaging, and labeling concerning

   14 the Product’s ingredients.

   15        197.    Plaintiffs and the other Class Members’ reliance on Defendant in
   16 selecting Defendant’s Product to fit their particular use was reasonable given

   17 Defendant’s particular knowledge of the Product it manufactures and distributes.

   18        198.    As a result of the foregoing, Plaintiffs and Class Members have been
   19 damaged in the amount paid for the Defendant’s Product, together with interest

   20 thereon from the date of purchase.

   21                                   PRAYER FOR RELIEF
   22        WHEREFORE, Plaintiffs, on behalf of themselves and all others similarly
   23 situated, pray for judgment as follows:

   24     (a) Declaring this action to be a proper class action and certifying Plaintiffs as the
   25        representatives of the nationwide Class under Rule 23 of the FRCP;
   26     (b) Certifying Plaintiffs as the class representatives of the state Subclasses of the
   27        states in which they reside;
   28
                                                   37
                                   FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 38 of 39 Page ID #:173




    1     (c) Appointing counsel as class counsel for the national class and any state
    2        Subclasses;
    3     (d) Awarding monetary damages, including treble damages;
    4     (e) Awarding punitive damages;
    5     (f) Awarding Plaintiffs and Class Members their costs and expenses incurred in
    6        this action, including reasonable attorneys’ fees, and reimbursement of
    7        Plaintiff’s expenses; and
    8     (g) Granting such other and further relief as the Court may deem just and proper.
    9
        Dated: October 13, 2017              NYE, PEABODY, STIRLING, HALE &
   10                                        MILLER, LLP
   11
                                             By: /s/
   12                                            Jonathan D. Miller, Esq.
                                                 Alison M. Bernal, Esq.
   13

   14   Dated: October 13, 2017              CARLSON LYNCH SWEET
                                             KILPELA & CARPENTER, LLP
   15
                                             By: /s/
   16                                            Todd D. Carpenter, Esq.
   17

   18   Dated: October 13, 2017              THE SULTZER LAW GROUP P.C.
   19                                        By: /s/
                                                 Jason P. Sultzer, Esq.
   20                                            Joseph Lipari, Esq.
                                                 Adam Gonnelli, Esq.
   21                                            Jeremy Francis, Esq.
   22   Dated: October 13, 2017              WALSH, LLC
   23
                                             By: /s/
   24                                            Bonner Walsh, Esq.
   25
                                             Attorneys for Plaintiffs and the Class
   26
   27

   28
                                                  38
                                  FIRST AMENDED CLASS ACTION COMPLAINT
Case 8:17-cv-01397-JVS-JDE Document 43 Filed 10/13/17 Page 39 of 39 Page ID #:174




    1                             DEMAND FOR JURY TRIAL
    2        Plaintiffs hereby demand a trial by jury of all claims so triable in the above
    3 referenced-matter.

    4
        Dated: October 13, 2017              NYE, PEABODY, STIRLING, HALE &
    5                                        MILLER, LLP
    6
                                             By: /s/
    7                                            Jonathan D. Miller, Esq.
                                                 Alison M. Bernal, Esq.
    8

    9   Dated: October 13, 2017              CARLSON LYNCH SWEET
                                             KILPELA & CARPENTER, LLP
   10
                                             By: /s/
   11                                            Todd D. Carpenter, Esq.
   12

   13   Dated: October 13, 2017              THE SULTZER LAW GROUP P.C.
   14                                        By: /s/
                                                 Jason P. Sultzer, Esq.
   15                                            Joseph Lipari, Esq.
                                                 Adam Gonnelli, Esq.
   16                                            Jeremy Francis, Esq.
   17   Dated: October 13, 2017              WALSH, LLC
   18
                                             By: /s/
   19                                            Bonner Walsh, Esq.
   20
                                             Attorneys for Plaintiffs and the Class
   21

   22

   23

   24

   25

   26
   27

   28
                                                  39
                                  FIRST AMENDED CLASS ACTION COMPLAINT
